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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                            Case No. 25-cv-21300-BLOOM/Elfenbein

 JIU XIANG CHEN,

        Petitioner,

 v.

 E.K. CARLTON, Warden of FDC Miami,
 FEDERAL BUREAU OF PRISONS, and U.S.
 IMMIGRATION AND CUSTOMS ENFORCEMENT,

       Respondents.
 ___________________________________________/

                                   ORDER TO SHOW CAUSE

        Petitioner Jiu Xiang Chen (“Petitioner”), an immigrant detainee, filed an Emergency

 Petition for Writ of Habeas Corpus (“Petition”) under 28 U.S.C § 2241. ECF No. [1]. Petitioner

 challenges the conditions of confinement, denial of necessary and immediate medical care, and

 treatment for his dermatomyositis interstitial lung disease. Id. Petitioner has paid the filing fee.

 Petitioner named E.K. Carlton, Warden of FDC Miami, Federal Bureau of Prisons, and U.S.

 Immigration and Customs Enforcement (“ICE”) as Respondents in this matter.

        Accordingly, it is ORDERED AND ADJUDGED as follows:

        1. Counsel for Respondents shall immediately notify the Court of receipt of this Order

            and the name of the Assistant United States Attorney to whom the case is assigned.

        2. On or before March 27, 2025, Respondents shall file a memorandum of fact and law

            to show cause why the Petition should not be granted and shall file all documents and

            transcripts necessary for resolution of the Petition. See 28 U.S.C. § 2243 (a response to

            the order to show cause “shall be returned within three days unless for good cause
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          additional time, not exceeding twenty days, is allowed.”).

       3. Respondents are reminded that it must provide Petitioner full and complete copies of

          all documents filed in support of its response. See Fed. R. Civ. P. 10(c) (“A copy of a

          written instrument that is an exhibit to a pleading is part of a pleading for all

          purposes.”); Rodriguez v Fla. Dep’t of Corr., 748 F.3d 1073, 1077 (11th Cir. 2014)

          (“[A]ll documents referenced in the State’s answer and filed with the Court must be

          served on the habeas petitioner.”).

       4. Petitioner may, but is not required to, file a reply within seven days of the date on

          which the Court dockets the Response. The reply, if any, shall not exceed ten pages

          and shall otherwise comply with the Court’s applicable Local Rules governing the form

          of filings. See S.D. Fla. L.R. 7.1(c); L.R. 5.1(a)(4).

       DONE AND ORDERED in Chambers at Miami, Florida, on March 20, 2025.




                                                        _________________________________
                                                        BETH BLOOM
                                                        UNITED STATES DISTRICT JUDGE
 cc:   counsel of record




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